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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                         CASE NO.

  LOUIS VUITTON MALLETIER, S.A.,

                 Plaintiff,
  vs.

  THE INDIVIDUALS, PARTNERSHIPS
  AND UNINCORPORATED
  ASSOCIATIONS IDENTIFIED ON
  SCHEDULE “A”

                 Defendants.
                                                   /

                 COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

         Plaintiff, Louis Vuitton Malletier, S.A. (“Plaintiff” or “Louis Vuitton”) hereby sues

  Defendants, the Individuals, Partnerships, and Unincorporated Associations identified on

  Schedule “A” hereto (collectively “Defendants”). Defendants are promoting, selling, offering for

  sale and distributing goods bearing counterfeits and confusingly similar imitations of Louis

  Vuitton’s trademarks within this district through various Internet based e-commerce stores using

  the seller identities set forth on Schedule “A” hereto (the “Seller IDs”). In support of its claims,

  Louis Vuitton alleges as follows:

                                  JURISDICTION AND VENUE

         1.      This is an action for federal trademark counterfeiting and infringement, false

  designation of origin, common law unfair competition, and common law trademark infringement

  pursuant to 15 U.S.C. §§ 1114, 1116, and 1125(a), and The All Writs Act, 28 U.S.C. § 1651(a).

  Accordingly, this Court has subject matter jurisdiction over this action pursuant to 15 U.S.C. §

  1121 and 28 U.S.C. §§ 1331 and 1338. This Court has supplemental jurisdiction pursuant to 28
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  U.S.C. § 1367 over Louis Vuitton’s state law claims because those claims are so related to the

  federal claims that they form part of the same case or controversy.

          2.      Defendants are subject to personal jurisdiction in this district, because they direct

  business activities toward and conduct business with consumers throughout the United States,

  including within the State of Florida and this district, through at least the Internet based e-

  commerce stores accessible in Florida and operating under their Seller IDs.

          3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 since Defendants are,

  upon information and belief, aliens who are engaged in infringing activities and causing harm

  within this district by advertising, offering to sell, and selling infringing products to consumers in

  Florida.

                                          THE PLAINTIFF

          4.      Louis Vuitton is a foreign business entity organized under the laws of the

  Republic of France with its principal place of business located at 2, rue du Pont-Neuf in Paris,

  France 75034. Louis Vuitton operates boutiques throughout the world, including within this

  district. Louis Vuitton is, in part, engaged in the business of manufacturing and distributing

  throughout the world, including within this district, a variety of high quality luxury goods under

  multiple world famous common law and federally registered trademarks, including those

  identified in Paragraph 14 below and set forth in Schedule “B” hereto. Louis Vuitton offers for

  sale and sells its trademarked goods within the State of Florida, including this district, through its

  boutiques, and online retail website. Defendants, through the sale and offering for sale of

  counterfeit and infringing Louis Vuitton branded products, are directly, and unfairly, competing

  with Louis Vuitton’s economic interests in the State of Florida and causing Louis Vuitton harm

  within this jurisdiction.




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         5.       Like many other famous trademark owners in the luxury goods market, Louis

  Vuitton suffers ongoing daily and sustained violations of its trademark rights at the hands of

  counterfeiters and infringers, such as Defendants herein, who wrongfully reproduce and

  counterfeit Louis Vuitton’s trademarks for the twin purposes of (i) duping and confusing the

  consuming public and (ii) earning substantial profits. The natural and intended byproduct of

  Defendants’ actions is the erosion and destruction of the goodwill associated with the Louis

  Vuitton name and associated trademarks and the destruction of the legitimate market sector in

  which it operates.

         6.       In order to combat the indivisible harm caused by the combined actions of

  Defendants and others engaging in similar conduct, each year Louis Vuitton expends significant

  monetary resources in connection with trademark enforcement efforts, including legal fees,

  investigative fees, and support mechanisms for law enforcement, such as field training guides

  and seminars.        The recent explosion of counterfeiting over the Internet has created an

  environment that requires Louis Vuitton to file a large number of lawsuits, often it later turns out,

  against the same individuals and groups, in order to protect both consumers and itself from the ill

  effects of confusion and the erosion of the goodwill connected to the Louis Vuitton brand.

                                        THE DEFENDANTS

         7.       Defendants are individuals and/or business entities of unknown makeup, each of

  whom, upon information and belief, either reside and/or operate in foreign jurisdictions with lax

  trademark enforcement systems or redistribute products from the same or similar sources in

  those locations. Defendants have the capacity to be sued pursuant to Federal Rule of Civil

  Procedure 17(b). Defendants target their business activities toward consumers throughout the

  United States, including within this district, and conduct pervasive business through the




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  operation of, at least, one fully interactive commercial Internet based e-commerce store via, at

  least, the Internet marketplace website, Amazon.com, under the Seller IDs.

          8.      Defendants are the past and present controlling forces behind the sale of products

  bearing counterfeits and infringements of Louis Vuitton’s trademarks as described herein using

  at least the Seller IDs.

          9.      Upon information and belief, Defendants directly engage in unfair competition

  with Louis Vuitton by advertising, offering for sale, and selling goods bearing counterfeits and

  infringements of one or more of Louis Vuitton’s trademarks to consumers within the United

  States and this district through Internet based e-commerce stores using, at least, the Seller IDs

  and additional names or seller identification aliases not yet known to Louis Vuitton. Defendants

  have purposefully directed some portion of their illegal activities towards consumers in the State

  of Florida through the advertisement, offer to sell, sale, and/or shipment of counterfeit and

  infringing Louis Vuitton branded goods into the State.

          10.     Defendants have registered, established or purchased, and maintained their Seller

  IDs. Upon information and belief, Defendants have engaged in fraudulent conduct with respect

  to the registration of the Seller IDs by providing false and/or misleading information to the

  Internet based e-commerce platforms where they sell during the registration or maintenance

  process related to their respective Seller ID. Upon information and belief, Defendants have

  anonymously registered and maintained some of the Seller IDs for the sole purpose of engaging

  in illegal counterfeiting activities.

          11.     Upon information and belief, Defendants will continue to register or acquire new

  seller identification aliases for the purpose of selling and offering for sale goods bearing




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  counterfeit and confusingly similar imitations of Louis Vuitton’s trademarks unless preliminarily

  and permanently enjoined.

         12.     Defendants’ Internet-based businesses amount to nothing more than illegal

  operations established and operated in order to infringe the intellectual property rights of Louis

  Vuitton and others.

         13.     Defendants’ business names, i.e., the Seller IDs, associated payment accounts,

  and any other alias seller identification names used in connection with the sale of counterfeit and

  infringing goods bearing Louis Vuitton’s trademarks are essential components of Defendants’

  online activities and are one of the means by which Defendants further their counterfeiting and

  infringing scheme and cause harm to Louis Vuitton. Moreover, Defendants are using Louis

  Vuitton’s famous brand name and trademarks to drive Internet consumer traffic to their e-

  commerce stores operating under the Seller IDs, thereby increasing the value of the Seller IDs

  and decreasing the size and value of Louis Vuitton’s legitimate marketplace at Louis Vuitton’s

  expense.

                              COMMON FACTUAL ALLEGATIONS

         Plaintiff’s Business and Trademark Rights

         14.     Louis Vuitton is the registered owner of the trademarks identified on Schedule

  “B” hereto (the “Louis Vuitton Marks”) which are valid and registered on the Principal Register

  of the United States Patent and Trademark Office. The Louis Vuitton Marks are used in

  conjunction with the manufacture and distribution of high quality goods in the categories also

  identified on Schedule “B.” True and correct copies of the Certificates of Registration for the

  Louis Vuitton Marks are attached hereto as Composite Exhibit “1.”




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         15.     The Louis Vuitton Marks have been used in interstate commerce to identify and

  distinguish Louis Vuitton’s high quality goods for an extended period of time.

         16.     The Louis Vuitton Marks have been used by Louis Vuitton long prior in time to

  Defendants’ use of copies of those Marks. The Louis Vuitton Marks have never been assigned or

  licensed to any of the Defendants in this matter.

         17.     The Louis Vuitton Marks are symbols of Louis Vuitton’s quality, reputation and

  goodwill and have never been abandoned. Louis Vuitton has carefully monitored and policed

  the use of the Louis Vuitton Marks.

         18.     Further, Louis Vuitton has expended substantial time, money and other resources

  developing, advertising and otherwise promoting the Louis Vuitton Marks. The Louis Vuitton

  Marks qualify as famous marks as that term is used in 15 U.S.C. §1125(c)(1).

         19.     Louis Vuitton has extensively used, advertised, and promoted the Louis Vuitton

  Marks in the United States in association with the sale of high quality luxury goods. Louis

  Vuitton has spent millions of dollars promoting the Louis Vuitton Marks and products bearing

  the Louis Vuitton Marks. In recent years, annual sales of products bearing the Louis Vuitton

  Marks have totaled in the hundreds of millions of dollars within the United States.

         20.     As a result of Louis Vuitton’s efforts, members of the consuming public readily

  identify merchandise bearing or sold under the Louis Vuitton Marks as being high quality goods

  sponsored and approved by Louis Vuitton.

         21.     Accordingly, the Louis Vuitton Marks have achieved secondary meaning as

  identifiers of high quality luxury goods.

         22.     Genuine goods bearing the Louis Vuitton Marks are widely legitimately

  advertised and promoted by Louis Vuitton and its authorized distributors via the Internet. Over




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  the course of the past ten years, visibility on the Internet, particularly via Internet search engines

  such as Google, Yahoo! and Bing has become increasingly important to Louis Vuitton’s overall

  marketing and consumer education efforts. Thus, Louis Vuitton expends significant monetary

  resources on Internet marketing and consumer education, including search engine optimization

  (“SEO”) strategies. Those strategies allow Louis Vuitton and its authorized retailers to fairly and

  legitimately educate consumers about the value associated with the Louis Vuitton brand and the

  goods sold thereunder.

         Defendants’ Infringing Activities

         23.     Upon information and belief, Defendants are promoting and advertising,

  distributing, selling, and/or offering for sale goods, including handbags, wallets, belts, traveling

  bags and cases for mobile electronic devices in interstate commerce bearing counterfeit and

  infringing trademarks that are exact copies of the Louis Vuitton Marks (the “Counterfeit Goods”)

  through at least the Internet based e-commerce stores operating under the Seller IDs.

  Specifically, upon information and belief, Defendants are using identical copies of the Louis

  Vuitton Marks for different quality goods. Louis Vuitton has used the Louis Vuitton Marks

  extensively and continuously before Defendants began offering counterfeit and confusingly

  similar imitations of Louis Vuitton’s merchandise.

         24.     Upon information and belief, Defendants’ Counterfeit Goods are of a quality

  substantially and materially different than that of Louis Vuitton’s genuine goods. Defendants,

  upon information and belief, are actively using, promoting and otherwise advertising,

  distributing, selling and/or offering for sale substantial quantities of their Counterfeit Goods with

  the knowledge and intent that such goods will be mistaken for the genuine high quality goods

  offered for sale by Louis Vuitton, despite Defendants’ knowledge that they are without authority




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  to use the Louis Vuitton Marks. The net effect of Defendants’ actions will cause confusion of

  consumers, at the time of initial interest, sale, and in the post-sale setting, who will believe

  Defendants’ Counterfeit Goods are genuine goods originating from, associated with, and

  approved by Louis Vuitton.

         25.     Defendants advertise their Counterfeit Goods for sale to the consuming public via

  e-commerce stores on, at least, one Internet marketplace website using, at least, the Seller IDs. In

  so advertising these goods, Defendants improperly and unlawfully use the Louis Vuitton Marks

  without Louis Vuitton’s permission. The misappropriation of Louis Vuitton’s advertising ideas

  in the form of the Louis Vuitton Marks is the proximate cause of damage to Louis Vuitton.

         26.     As part of their overall infringement and counterfeiting scheme, Defendants are,

  upon information and belief, all employing and benefitting from substantially similar, paid

  advertising and marketing strategies based, in large measure, upon an illegal use of counterfeits

  and infringements of the Louis Vuitton Marks. Specifically, Defendants are using counterfeits

  and infringements of Louis Vuitton’s famous name and the Louis Vuitton Marks in order to

  make their e-commerce stores selling illegal goods appear more relevant and attractive to

  consumers online. By their actions, Defendants have created an illegal marketplace operating in

  parallel to the legitimate marketplace for Louis Vuitton’s genuine goods. Defendants are causing

  concurrent and indivisible harm to Louis Vuitton and the consuming public by (i) depriving

  Louis Vuitton and other third parties of their right to fairly compete for space within search

  engine results and reducing the visibility of Louis Vuitton’s genuine goods on the World Wide

  Web, (ii) causing an overall degradation of the value of the goodwill associated with the Louis

  Vuitton Marks, and (iii) increasing Louis Vuitton’s overall cost to market its goods and educate

  consumers about its brand via the Internet.




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         27.     Upon information and belief, Defendants are concurrently targeting their

  counterfeiting and infringing activities toward consumers and causing harm within this district

  and elsewhere throughout the United States. As a result, Defendants are defrauding Louis

  Vuitton and the consuming public for Defendants’ own benefit.

         28.     Upon information and belief, at all times relevant hereto, Defendants in this action

  had full knowledge of Louis Vuitton’s ownership of the Louis Vuitton Marks, including its

  exclusive right to use and license such intellectual property and the goodwill associated

  therewith.

         29.     Defendants’ use of the Louis Vuitton Marks, including the promotion and

  advertisement, reproduction, distribution, sale and offering for sale of their Counterfeit Goods, is

  without Louis Vuitton’s consent or authorization.

         30.     Defendants are engaging in the above-described illegal counterfeiting and

  infringing activities knowingly and intentionally or with reckless disregard or willful blindness to

  Louis Vuitton’s rights for the purpose of trading on Louis Vuitton’s goodwill and reputation. If

  Defendants’ intentional counterfeiting and infringing activities are not preliminarily and

  permanently enjoined by this Court, Louis Vuitton and the consuming public will continue to be

  harmed.

         31.     Defendants’ above identified infringing activities are likely to cause confusion,

  deception, and mistake in the minds of consumers, the public, and the trade before, during and

  after the time of purchase. Moreover, Defendants’ wrongful conduct is likely to create a false

  impression and deceive customers, the public, and the trade into believing there is a connection

  or association between Louis Vuitton’s genuine goods and Defendants’ Counterfeit Goods,

  which there is not.




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            32.   Further, upon information and belief, Defendants are likely to transfer or secret

   their assets to avoid payment of any monetary judgment awarded to Louis Vuitton.

            33.   Louis Vuitton has no adequate remedy at law.

            34.   Louis Vuitton is suffering irreparable and indivisible injury and has suffered

   substantial damages as a result of Defendants’ unauthorized and wrongful use of the Louis

   Vuitton Marks. If Defendants’ counterfeiting and infringing, and unfairly competitive activities

   are not preliminarily and permanently enjoined by this Court, Louis Vuitton and the consuming

   public will continue to be harmed.

            35.   The harm and damages sustained by Louis Vuitton have been directly and

   proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offers

   to sell, and sale of their Counterfeit Goods.

             COUNT I - TRADEMARK COUNTERFEITING AND INFRINGEMENT
               PURSUANT TO § 32 OF THE LANHAM ACT (15 U.S.C. § 1114)

            36.   Louis Vuitton hereby adopts and re-alleges the allegations set forth in Paragraphs

   1 through 35 above.

            37.   This is an action for trademark counterfeiting and infringement against

   Defendants based on their use of counterfeit and confusingly similar imitations of the Louis

   Vuitton Marks in commerce in connection with the promotion, advertisement, distribution,

   offering for sale, and sale of the Counterfeit Goods.

            38.   Specifically, Defendants are promoting and otherwise advertising, selling,

   offering for sale and distributing goods using one or more of the Louis Vuitton Marks.

   Defendants are continuously infringing and inducing others to infringe the Louis Vuitton Marks

   by using them to advertise, promote, sell and/or offer to sell goods bearing the Louis Vuitton

   Marks.



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           39.      Defendants’ concurrent counterfeiting and infringing activities are likely to cause

   and actually are causing confusion, mistake, and deception among members of the trade and the

   general consuming public as to the origin and quality of Defendants’ Counterfeit Goods.

           40.      Defendants’ unlawful actions have individually and jointly caused and are

   continuing to cause unquantifiable damages to Louis Vuitton and are unjustly enriching

   Defendants with profits at Louis Vuitton’s expense.

           41.      Defendants’ above-described illegal actions constitute counterfeiting and

   infringement of the Louis Vuitton Marks in violation of Louis Vuitton’s rights under § 32 of the

   Lanham Act, 15 U.S.C. § 1114.

           42.      Louis Vuitton has suffered and will continue to suffer irreparable injury and

   damages due to Defendants’ above described activities if Defendants are not preliminarily and

   permanently enjoined. Additionally, Defendants will continue to wrongfully profit from their

   illegal activities.

                     COUNT II - FALSE DESIGNATION OF ORIGIN
               PURSUANT TO § 43(a) OF THE LANHAM ACT (15 U.S.C. § 1125(a))

           43.      Louis Vuitton hereby adopts and re-alleges the allegations set forth in Paragraphs

   1 through 35 above.

           44.      Upon information and belief, Defendants’ Counterfeit Goods bearing, offered for

   sale and sold using copies of the Louis Vuitton Marks have been widely advertised and offered

   for sale throughout the United States via at least one Internet marketplace website.

           45.      Defendants’ Counterfeit Goods bearing, offered for sale, and sold under copies of

   the Louis Vuitton Marks are virtually identical in appearance to Louis Vuitton’s genuine goods.

   However, Defendants’ Counterfeit Goods are different in quality. Accordingly, Defendants’




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   activities are likely to cause confusion in the trade and among the general public as to at least the

   origin or sponsorship of their Counterfeit Goods.

          46.     Defendants, upon information and belief, have used in connection with their

   advertisement, offer for sale, and sale of their Counterfeit Goods, false designations of origin and

   false descriptions and representations, including words or other symbols and trade dress which

   tend to falsely describe or represent such goods and have caused such goods to enter into

   commerce with full knowledge of the falsity of such designations of origin and such descriptions

   and representations, all to Louis Vuitton’s detriment.

          47.     Defendants have authorized infringing uses of the Louis Vuitton Marks, in

   Defendants’ advertisement and promotion of their counterfeit and infringing branded goods.

   Defendants have also misrepresented to members of the consuming public that the Counterfeit

   Goods being advertised and sold by them are genuine, non-infringing goods.

          48.     Additionally, Defendants are using counterfeits and infringements of the Louis

   Vuitton Marks in order to unfairly compete with Louis Vuitton and others for space within

   search engine organic results, thereby jointly depriving Louis Vuitton of a valuable marketing

   and educational tool which would otherwise be available to Louis Vuitton, and reducing the

   visibility of Louis Vuitton’s genuine goods on the World Wide Web.

          49.     Defendants’ above-described actions are in violation of Section 43(a) of the

   Lanham Act, 15 U.S.C. §1125(a).

          50.     Louis Vuitton has no adequate remedy at law, and has sustained indivisible injury

   and damage caused by Defendants’ concurrent conduct. Absent an entry of an injunction by this

   Court, Defendants will continue to wrongfully reap profits and Louis Vuitton will continue to

   suffer irreparable injury to its goodwill and business reputation, as well as monetary damages.




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                         COUNT III - COMMON LAW UNFAIR COMPETITION.

          51.     Louis Vuitton hereby adopts and re-alleges the allegations set forth in Paragraphs

   1 through 35 above.

          52.     This is an action against Defendants based on their promotion, advertisement,

   distribution, sale and/or offering for sale of goods bearing marks that are virtually identical, both

   visually and phonetically, to the Louis Vuitton Marks in violation of Florida’s common law of

   unfair competition.

          53.     Defendants are promoting and otherwise advertising, selling, offering for sale and

   distributing goods bearing counterfeits and infringements of the Louis Vuitton Marks.

   Defendants are also using counterfeits and infringements of the Louis Vuitton Marks to unfairly

   compete with Louis Vuitton and others for (1) space in search engine results across an array of

   search terms and (2) visibility on the World Wide Web.

          54.     Defendants’ infringing activities are likely to cause and actually are causing

   confusion, mistake and deception among members of the trade and the general consuming public

   as to the origin and quality of Defendants’ products by their use of the Louis Vuitton Marks.

          55.     Louis Vuitton has no adequate remedy at law and is suffering irreparable injury

   and damages as a result of Defendants’ actions.

                    COUNT IV - COMMON LAW TRADEMARK INFRINGEMENT

          56.     Louis Vuitton hereby adopts and re-alleges the allegations set forth in Paragraphs

   1 through 35 above.

          57.     This is an action for common law trademark infringement against Defendants

   based on their promotion, advertisement, offering for sale, and sale of their Counterfeit Goods




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   bearing the Louis Vuitton Marks. Louis Vuitton is the owner of all common law rights in and to

   the Louis Vuitton Marks.

          58.     Specifically, Defendants, upon information and belief, are manufacturing,

   promoting and otherwise advertising, distributing, offering for sale, and selling goods bearing

   infringements of the Louis Vuitton Marks.

          59.     Defendants’ infringing activities are likely to cause and actually are causing

   confusion, mistake and deception among members of the trade and the general consuming public

   as to the origin and quality of Defendants’ Counterfeit Goods bearing the Louis Vuitton Marks.

          60.     Louis Vuitton has no adequate remedy at law and is suffering irreparable injury

   and damages as a result of Defendants’ actions.

                                        PRAYER FOR RELIEF

          61.     WHEREFORE, Louis Vuitton demands judgment on all Counts of this Complaint

   and an award of equitable relief and monetary relief, jointly and severally, against Defendants as

   follows:

                  a.      Entry of temporary, preliminary, and permanent injunctions pursuant to 15

   U.S.C. § 1116 and Federal Rule of Civil Procedure 65 enjoining Defendants, their agents,

   representatives, servants, employees, and all those acting in concert or participation therewith,

   from manufacturing or causing to be manufactured, importing, advertising or promoting,

   distributing, selling or offering to sell their Counterfeit Goods; from infringing, counterfeiting, or

   diluting the Louis Vuitton Marks; from using the Louis Vuitton Marks, or any mark or trade

   dress similar thereto, in connection with the sale of any unauthorized goods; from using any

   logo, trade name or trademark or trade dress that may be calculated to falsely advertise the

   services or goods of Defendants as being sponsored by, authorized by, endorsed by, or in any




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   way associated with Louis Vuitton; from falsely representing themselves as being connected

   with Louis Vuitton, through sponsorship or association, or engaging in any act that is likely to

   falsely cause members of the trade and/or of the purchasing public to believe any goods or

   services of Defendants, are in any way endorsed by, approved by, and/or associated with Louis

   Vuitton; from using any reproduction, counterfeit, infringement, copy, or colorable imitation of

   the Louis Vuitton Marks in connection with the publicity, promotion, sale, or advertising of any

   goods sold by Defendants; from affixing, applying, annexing or using in connection with the sale

   of any goods, a false description or representation, including words or other symbols tending to

   falsely describe or represent Defendants’ goods as being those of Louis Vuitton, or in any way

   endorsed by Louis Vuitton and from offering such goods in commerce; from engaging in search

   engine optimization strategies using colorable imitations of Louis Vuitton’s name or the Louis

   Vuitton Marks; and from otherwise unfairly competing with Louis Vuitton.

                 b.      Entry of an Order requiring the Seller IDs, and any other alias seller

   identification names being used and/or controlled by Defendants to engage in the business of

   marketing, offering to sell and/or selling goods bearing counterfeits and infringements of the

   Louis Vuitton Marks be disabled by the applicable governing Internet marketplace website.

                 c.      Entry of an Order that, upon Louis Vuitton’s request, any Internet

   marketplace website operators and/or administrators who are provided with notice of the

   injunction, including but not limited to Amazon.com, Inc., permanently remove any and all

   listings and associated images of goods bearing counterfeits and/or infringements of the Louis

   Vuitton Marks via the e-commerce stores operating under the Seller IDs, including but not

   limited to the listings and associated images identified by the Amazon Standard Identification

   Numbers (“ASIN”) on Schedule “C” annexed hereto, and any other listings and images of goods




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   bearing counterfeits and/or infringements of the Louis Vuitton Marks associated with any ASIN

   linked to the same sellers or linked to any other alias seller identification names being used

   and/or controlled by Defendants to promote, offer for sale and/or sell goods bearing counterfeits

   and/or infringements of the Louis Vuitton Marks.

                  d.     Entry of an Order that, upon Louis Vuitton’s request, any Internet

   marketplace website operators and/or administrators, including but not limited to Amazon.com,

   Inc., who are provided with notice of the injunction, immediately cease fulfillment of and

   sequester all goods of each Defendant bearing one or more of the Louis Vuitton Marks in its

   inventory, possession, custody, or control, and surrender those goods to Louis Vuitton.

                  e.     Entry of an Order requiring Defendants to account to and pay Louis

   Vuitton for all profits and damages resulting from Defendants’ trademark counterfeiting and

   infringing and unfairly competitive activities and that the award to Louis Vuitton be trebled, as

   provided for under 15 U.S.C. §1117, or, at Louis Vuitton’s election with respect to Count I, that

   Louis Vuitton be awarded statutory damages from each Defendant in the amount of two million

   dollars ($2,000,000.00) per each counterfeit trademark used and product sold, as provided by 15

   U.S.C. §1117(c)(2) of the Lanham Act.

                  f.     Entry of an award pursuant to 15 U.S.C. § 1117 (a) and (b) of Louis

   Vuitton’s costs and reasonable attorneys’ fees and investigative fees associated with bringing this

   action.

                  g.     Entry of an Order that, upon Louis Vuitton’s request, any financial

   institutions, payment processors, banks, escrow services, money transmitters, or marketplace

   platforms, including but not limited to, Amazon Payments, Inc., PayPal, Inc., and their related

   companies and affiliates, identify and restrain all funds, up to and including the total amount of




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   judgment, in all financial accounts and/or sub-accounts used in connection with the Seller IDs or

   other alias seller identification or e-commerce store names used by Defendants presently or in

   the future, as well as any other related accounts of the same customer(s) and any other accounts

   which transfer funds into the same financial institution account(s), to be surrendered to Louis

   Vuitton in partial satisfaction of the monetary judgment entered herein.

                  h.     Entry of an award of pre-judgment interest on the judgment amount.

                  i.     Entry of an Order for any further relief as the Court may deem just and

   proper.

   DATED: May 24, 2017.                         Respectfully submitted,

                                                STEPHEN M. GAFFIGAN, P.A.

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                               SCHEDULE “A”
                    DEFENDANTS BY NUMBER AND SELLER IDs

            Def.                                    Amazon Seller ID Number
                      Defendant / Seller ID
            No.
              1    ANDREW HENRY                    AKT3E2WRKEEZZ
              2    Jasmine_Grinage                 A3QQI63OI9LZM7
              3    LINDA MOXEY                     A14W2VQE8Y8OC
              4    phoenixcheapbooks               A1MXG1V6MQREQY
              5    ROBINN LYON-ALVIZO              A13T8G6SL0AXR9
              6    wasilewskixzjno                 AA1UNDWRQO3W5
              7    azvettes                        A2IQ50OVZ74IJ4
              8    **Extreme Phone Corp LLC**      AYZ4BZ0GLGZ90
              9    BDKEIWQO                        A1TH5RGQR9KEG7
             10    Best Buy Case                   A8I7ZZ29IU07J
             11    CAROL MOORE                     A3LFLUZAJFFL22
             12    Case Escape                     A20DOJ7UR0WHLQ
             13    CHENWEIKUN                      A3Q9ODQLDHC3SC
             14    Fenfang                         A159ANKRYCO6FF
             15    GER-sports                      A2VMWK96929QTS
             16    Javerzoom                       A3Q7AVU895XBUB
             17    JESSE NORMAND                   A3MH7SU9S00MJE
             18    KDFUYC                          A1NF0DXRUZNZGV
             19    Kiara Mitchel                   A2078YXYKFYIFQ
             20    KKKDFJL FF                      A1KUWLNUYEZWFD
             21    LANISE HARRINGTON               ADEYYV0AOD7XY
             22    Miroshop                        A2ZPMYV4VCS8CA
             23    MONDUE                          A3EN87AK4705U2
             24    MORE AND MORE                   A2DA6C55M29GYA
             25    njhdfjk                         A56ONMX4PT9L4
             26    sudas                           A8EF4XWPOKOFI
             27    Sunthing                        A1GC3V78PD3WC4
             28    Tanamal                         A1MMHMRQKK8KXS
             29    Tracy Wendling                  AJPHA4NWD4JPU
             30    Yvonne Cruz                     A19I9TWHBA1JBK
             31    ZDRAVKA TOMIC                   AMJXSE4AAO5H1




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                                SCHEDULE “B”
               PLAINTIFF’S FEDERALLY REGISTERED TRADEMARKS

               Registration Registration
   Trademark                                              Class(es) / Relevant Goods
                Number         Date
                                          IC 18: trunks, valises, traveling bags, satchels, hat boxes
                            September 20,
                0,297,594                 and shoe boxes used for luggage, hand bags, and
                                1932
                                          pocketbooks.
                                         IC 18: trunks, valises, traveling bags, satchels, hat boxes
                             January 10,
                1,519,828                and shoe boxes used for luggage, hand bags,
                                1989
                                         pocketbooks.
                                           IC 14: watches and straps for wrist watches.
                                           IC 16: catalogues featuring luggage and travel
                                           accessories, bags, small leather goods, and garments;
                                           notebooks, anthologies, and pamphlets referring to
                                           travel; calendars; telephone indexes; fountain pens,
                                           ballpoint pens, nibs, covers for pocket and desk diaries,
                                           and checkbook holders.
                                           IC 18: trunks; traveling trunks; suitcases; traveling bags;
                                           luggage; garment bags for travel; hat boxes for travel;
     LOUIS                    August 6,
                1,990,760                  shoe bags for travel; umbrellas; animal carriers;
    VUITTON                    1996
                                           rucksacks; haversacks; leather or textile shopping bags;
                                           beach bags; handbags; vanity cases sold empty; attache
                                           cases; tote bags, travel satchels; clutch bags; briefcases;
                                           wallets; pocket wallets; credit card cases; business card
                                           cases; bill and card holders; checkbook holders; key
                                           cases; change purses; briefcase-type portfolios.
                                           IC 24: travel blankets
                                           IC 25: shirts; sweatshirts; polo shirts; T-shirts;
                                           headwear; jackets; ties; belts; shawls; scarves.




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                                         IC 14: goods made of precious metals, namely, shoe
                                         ornaments, ornamental pins; jewelry, namely, rings, ear
                                         rings, cufflinks, bracelets, charms, necklaces;
                                         horological instruments, straps for watches, watches
                                         and wrist-watches, and cases for watches.
                                         IC 18: goods made of leather or imitations of leather are
                                         not included in other classes, namely, boxes made from
                                         leather; trunks, valises, traveling bags, luggage for
                            August 4,    travel, garment bags for travel, vanity cases sold empty,
                2,177,828
                             1998        rucksacks, hand bags, beach bags, shopping bags,
                                         shoulder bags, attache cases, briefcases, and fine leather
                                         goods, namely, pocket wallets, purses, leather key
                                         holders, business card cases, calling card cases, and
                                         credit card cases, umbrellas.
                                         IC 25: clothing and underwear, namely, shirts,
                                         waistcoats, raincoats, skirts, coats, pullovers, trousers,
                                         dresses, jackets, shawls, stoles, scarves, neckties, pocket
                                         squares, belts, shoes, boots, and sandals.
                                         IC 14: jewelry, namely, rings, ear rings, bracelets,
                                         charms, necklaces, horological instruments, straps for
                                         watches, watches, and wrist-watches, and cases for
                                         watches.
                                       IC 18: goods made of leather or imitations of leather are
                                       not included in other classes, namely, boxes made from
                                       leather; trunks, valises, traveling bags, luggage for
                                       travel, garment bags for travel, vanity cases sold empty,
                            August 18,
                2,181,753              rucksacks, hand bags, beach bags, shopping bags,
                              1998
                                       shoulder bags, attache cases, briefcases, and fine leather
                                       goods, namely, pocket wallets, purses, leather key
                                       holders, business card cases, calling card cases, credit
                                       card cases, and umbrellas.
                                         IC 25: clothing and underwear, namely, shirts,
                                         waistcoats, raincoats, skirts, coats, pullovers, trousers,
                                         dresses, jackets, shawls, stoles, scarves, neckties, pocket
                                         squares, belts, shoes, boots, and sandals.




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                                           IC 14: jewelry, namely, rings, belt buckles, ear rings,
                                           cufflinks, bracelets, charms, brooches, necklaces,
                                           horological instruments, watches, and cases for watches.
                                        IC 18: Goods made of leather or of imitations of leather
                                        not included in other classes, namely, boxes of leather
                                        used for travel purposes, hat boxes for travel; trunks,
                                        valises, travelling bags, traveling sets for containing
     LOUIS                              cosmetics, garment bags for travel, rucksacks,
    VUITTON     2,346,373   May 2, 2000 handbags, beach bags, shopping bags, shoulder bags,
     PARIS                              briefcases, pouches; fine leather goods, namely, pocket
                                        wallets, purses, key cases, card holders, checkbook
                                        holders; umbrellas.
                                          IC 25: Clothing and underwear, namely, sweaters,
                                          shirts, suits, waistcoats, skirts, coats, pullovers, trousers,
                                          dresses, clothing jackets, shawls, stoles, scarves,
                                          neckties, clothing belts, bathing suits, footwear; head
                                          wear and waterproof clothing, namely, raincoats.
                                          IC 25: Clothing, namely, sweaters, shirts, sweatshirts,
                                          polo shirts, t-shirts, suits, waistcoats, raincoats, skirts,
                                          coats, pullovers, trousers, dresses, jackets, shawls,
                2,361,695   June 27, 2000
                                          stoles, scarves, neckties, pocket squares, pocket
                                          handkerchief squares for wear, gloves, ties, belts,
                                          bathing suits, shoes, boots and sandals, and hats.
                                          IC 18: goods made of leather or imitations of leather not
                                          included in other classes, namely, boxes of leather
                                          principally used for travel purposes, trunks, valises,
                             August 22, traveling bags, * traveling sets for containing cosmetics
                2,378,388
                                2000      and jewelry, * handbags, beach bags, shopping bags,
     LOUIS                                shoulder bags, brief cases, pouches, fine leather goods
    VUITTON                               namely, pocket wallets, purses, key cases, business card
     PARIS                                cases, credit card cases.
                                          IC 18: goods made of leather or imitations of leather not
                                          included in other classes, namely, valises, traveling
                             January 16, bags, * traveling sets for containing cosmetics, *
                2,421,618
                                2001      shopping bags, shoulder bags, brief cases, pouches; fine
                                          leather goods, namely, pocket wallets, purses, key
                                          cases, business card cases, credit card cases.




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                                          IC 14: jewelry including ((rings,)) ((earrings,)) cuff
                                          links, bracelets, ((charms,)) necklaces, ((and
                                          medallions;)) horological and chronometric instruments
                                          and apparatus, namely, watches,
                                         IC 18: travel bags, travel bags made of leather; luggage
                                         trunks and valises, garment bags for travel, vanity-cases
                                         sold empty; rucksacks, shoulder bags, handbags;
                             October 14, attache-cases, briefcases, drawstring pouches, pocket
                2,773,107
                                2003     wallets, purses, umbrellas, business card cases made of
                                         leather or of imitation leather, credit card cases made of
                                         leather or of imitation leather; key holders made of
                                         leather or of imitation leather.
                                          IC 25: clothing, namely, shirts, T-shirts, belts, scarves,
                                          neck ties, shawls, ((skirts,)) raincoats, overcoats,
                                          ((trousers, jeans, pullovers, frocks,)) highheeled shoes,
                                          low-heeled shoes, boots, tennis shoes; ((hats))
                                          IC 09: spectacles, sunglasses and spectacle cases.

                                          IC 14: jewelry, namely, rings, earrings and ear clips,
                                          cuff links, bracelets, charms, necklaces, tie pins,
                                          medallions; horological and chronometric apparatus and
                                          instruments, namely, watches, watch cases, alarm
                                          clocks; jewelry boxes of precious metal, their alloys or
                                          coated therewith.

                                          IC 18: leather and imitation leather products, namely,
                                          traveling bags, traveling sets comprised of bags or
                3,107,072   June 20, 2006
                                          luggage, trunks and suitcases, garment bags for travel
                                          purposes; vanity cases sold empty, rucksacks, shoulder
                                          bags, handbags, attaché cases, document wallets and
                                          briefcases made of leather, pouches made of leather,
                                          wallets, purses, key cases, business card cases, credit
                                          card cases; umbrellas.

                                          IC 25: clothing and undergarments, namely, shirts, tee-
                                          shirts, belts, scarves, neckties, shawls, skirts, raincoats,
                                          overcoats, trousers, denim trousers, dresses, jackets,
                                          sashes for wear, bathing suits, shoes, boots.




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                                         IC 18: boxes of leather or imitation leather for
                                         packaging and carrying goods, trunks, suitcases,
                                         traveling sets comprised of matching luggage, traveling
                                         bags, luggage, garment bags for travel, vanity cases not
                            February 17, fitted, toiletry cases sold empty, rucksacks, satchels,
                3,576,404
                               2009      handbags, beach bags, leather shopping bags, sling
                                         bags, suit carriers, shoulder bags, waist bags, purses,
                                         travel cases, briefcases, briefcase-type portfolios,
                                         leather pouches, wallets, change purses, key cases,
                                         business card cases, calling card cases.




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                                         IC 03: soaps for personal use; perfumery; essential oils;
                                         cosmetics; creams for the hair, face, and body; lotions
                                         for the hair, face, and body; shower and bath gels;
                                         shower and bath preparations; shampoos; make-up
                                         preparations, namely, foundations, lipsticks, eye
                                         shadows, mascara, make-up powder, and nail polish.
                                         IC 09: sunglasses; spectacles; optical lenses; spectacle
                                         cases; telephones; mobile telephones; smart phones; PC
                                         tablets; personal digital assistants; MP3 players;
                                         accessories for telephones, mobile telephones, smart
                                         phones, PC tablets, personal digital assistants, and MP3
                                         players, namely, hands-free kits for telephones,
                                         batteries, covers, housings, façades, chargers, hand
                                         straps, and neck straps.
                                         IC 14: jewelry; key rings of precious metal; tie pins;
                                         medallions; jewelry boxes; watches; watch bands; alarm
                                         clocks; cases for timepieces.
                                       IC 16: printed matter, namely, pamphlets, catalogs, and
                                       books in the field of travel, luggage, luxury goods,
                                       fashion, clothing, sports, the arts; publications, namely,
                                       brochures and booklets in the field of travel, luggage,
                                       luxury goods, fashion, clothing, sports, the arts;
                                       stationery; stationery articles, namely, note pads,
                            August 21, writing books, drawing books, calendars, agendas,
                4,192,541
                              2012     notebooks, envelopes, letter paper, and index cards;
                                       covers for diaries, indexes, and pads; office requisites,
                                       namely, letter trays, paper cutters, pencils, inkstands,
                                       inkwells, paperweights, pencil holders, pen holders,
                                       writing pads, pens, balls, and nibs for pens; postcards;
                                       paper labels; newspapers; printed documents, namely,
                                       printed certificates.
                                         IC 18: boxes of leather or imitation leather for
                                         packaging and carrying goods; traveling bags; leather
                                         traveling sets of luggage; trunks; suitcases; garment
                                         bags for travel; vanity cases sold empty; toiletry bags
                                         sold empty; backpacks; handbags; attaché cases; leather
                                         document cases; wallets; purses; leather key cases;
                                         umbrellas.
                                         IC 24: textiles and textile goods, namely, bath linen, bed
                                         linen, table linen, towels, bed covers, textile table
                                         cloths.
                                         IC 25: clothing, namely, underwear, shirts, tee-shirts,
                                         pullovers, skirts, dresses, trousers, coats, jackets, belts
                                         for clothing, scarves, sashes for wear, gloves, neckties,
                                         socks, bathing suits; footwear; headwear.
                                         IC 34: cigar and cigarette cases of leather and imitation
                                           24
                                         leather.
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                                          IC 09: optical apparatus, namely, binoculars; blank USB
                                          sticks; spectacles; sunglasses; spectacle frames;
                                          spectacle glasses; spectacle cases; accessories for
                                          telephones, mobile phones, smart phones, tablet
                                          devices, PDAs, and MP3 players, namely, covers, neck
                                          straps, neck cords, and bags and cases specially adapted
                                          for holding or carrying portable telephones and
                                          telephone equipment and accessories.

                                         IC 16: paper bags; boxes of cardboard or paper;
                                         cardboard and paperboard envelopes and pouches for
                                         packaging; plastic materials for packaging, namely,
                                         bags; posters; pamphlets referring to travel; postcards;
                                         catalogs featuring luggage, travel accessories, bags,
                                         small leather goods, and clothing; paper labels; trading
                                         cards; greeting cards; business cards; invitation cards;
                                         printed publications, namely, books, newspapers,
                                         leaflets, and magazines featuring luggage, travel
                                         accessories, purses, small leather goods, and clothing;
                                         bookbinding materials; printed photographs; photograph
                                         albums; stationery, namely, note pads, desk pads,
     LOUIS                               writing pads, drawing pads, envelopes, note paper;
                4,530,921   May 13, 2014
    VUITTON                              calendars; pocket calendars; note books; telephone
                                         indexes; diary covers; diaries; office requisites, namely,
                                         letter trays, paper knives, ink stands, inkwells, paper
                                         weights, pencil holders, pen holders, pencil tubs,
                                         blotting pads, pencils, fountain pens, rubber erasers, pen
                                         cases; printing types; printing blocks; table linens of
                                         paper.

                                          IC 25: clothing, namely, pullovers, vests, shirts, tee-
                                          shirts, trousers, jackets, suits, coats, rain coats,
                                          waterproof jackets, waterproof pants, overcoats, parkas,
                                          skirts, dresses, pajamas, dressing gowns, nightgowns,
                                          robe, gloves, neck ties, belts for clothing, leather belts,
                                          scarves, pocket squares, sashes for wear, shawls,
                                          stockings, socks, tights, braces for clothing, suspenders,
                                          stoles, underwear, lingerie, bathing suits; headwear;
                                          shoes; slippers; boots; half-boots.

                                          IC 26: buttons; hooks and eyes; shoe buckles; hair
                                          accessories, namely, hair pins, barrettes, hair bows, hair
                                          clips, hair bands, hair wraps; hair ornaments; brooches
                                          for clothing; clothing fasteners, namely, scarf holders.




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                                           IC 09: Optical apparatus, namely, binoculars; blank
                                           USB sticks; spectacles; sunglasses; spectacle frames;
                                           spectacle glasses; spectacle cases; accessories for
                                           telephones, mobile phones, smart phones, tablet
                                           devices, PDAs, and MP3 players, namely, covers, neck
                                           straps, neck cords, and bags and cases specially adapted
                                           for holding or carrying portable telephones and
                                           telephone equipment and accessories.
                                          IC 16: Paper bags, boxes of cardboard or paper,
                                          cardboard and paperboard envelopes and pouches for
                                          packaging; plastic materials for packaging, namely,
                                          bags; posters; pamphlets referring to travel; postcards;
                                          catalogs featuring luggage, travel accessories, bags,
                                          small leather goods, and clothing; paper labels; trading
                                          cards; greeting cards; business cards; invitation cards;
                            September 30, printed publications, namely, books, newspapers,
                4,614,736                 leaflets, and magazines featuring luggage, travel
                                2014
                                          accessories, purses, small leather goods, and clothing;
                                          bookbinding materials; printed photographs; photograph
                                          albums; stationery, namely, note pads, desk pads,
                                          writing pads, drawing pads, envelopes, note paper;
                                          calendars; pocket calendars; note books; telephone
                                          indexes; diary covers; diaries; office requisites, namely,
                                          letter trays, paper knives, ink stands, inkwells, paper
                                          weights, pencil holders, pen holders, pencil tubs,
                                          blotting pads, pencils, fountain pens, rubber erasers, pen
                                          cases; printing types; printing blocks; table linens of
                                          paper.
                                           IC 26: Buttons; hooks and eyes; shoe buckles; hair
                                           accessories, namely, hair pins, barrettes, hair bows, hair
                                           clips, hair bands, hair wraps; hair ornaments; brooches
                                           for clothing; clothing fasteners, namely, scarf holders.




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                            SCHEDULE “C”
     AMAZON STANDARD IDENTIFICATION NUMBERS (“ASIN”) BY DEFENDANT

   Def.                            Amazon Seller ID
          Defendant / Seller ID                          Infringing Item’s ASIN
   No.                                Number
                                                      B06XQWYYHZ    B06X8YPRP9
                                                      B06X8ZKPPS    B06X6GBP4Q
                                                      B06WP4YGJX    B06X3V9TKS
                                                      B06VVH327F    B06X3V8MVL
                                                      B06XRB2SLN    B06WVB9X8J
                                                      B06XR4499N    B06WGPH43R
                                                      B06XR3S1BW    B06WD3X2ZM
    1     ANDREW HENRY            AKT3E2WRKEEZZ
                                                      B06XR3C4S4    B06VVKCB19
                                                      B06XQZGRFW    B06VVGWVB7
                                                      B06XQXCMN8    B06VV886W8
                                                      B06XQT6P6Q    B06VV93ZRB
                                                      B06XQNF7H4    B06VV7VLXV
                                                      B06X187JJX    B06VTZKKBV
                                                      B06X8ZK86N    B06VTZBVQH
                                                      B06X8ZKPPS
                                                                    B06WVB9X8J
                                                      B06WVB86WG
                                                                    B06WGPH43R
                                                      B06WP4YGJX
                                                                    B06W9HZ92G
                                                      B06W9HZQSR
                                                                    B06VVKCB19
                                                      B06VVH327F
    2     Jasmine_Grinage          A3QQI63OI9LZM7                   B06VVGWVB7
                                                      B06X8ZK86N
                                                                    B06VV93ZRB
                                                      B06X8YPRP9
                                                                    B06VV7VLXV
                                                      B06X6GBP4Q
                                                                    B06VTZKKBV
                                                      B06X3V9TKS
                                                                    B06VTZBVQH
                                                      B06WVBBMNX
                                                      B06X8ZKPPS
                                                                    B06WVBBMNX
                                                      B06WVB86WG
                                                                    B06WVB9X8J
                                                      B06WP4YGJX
                                                                    B06WGPH43R
                                                      B06W9HZQSR
                                                                    B06WGPGGXJ
                                                      B06VVHVZ2Z
                                                                    B06WD3X2ZM
                                                      B06VVH327F
                                                                    B06W9HZ92G
    3     LINDA MOXEY             A14W2VQE8Y8OC       B06XDF2ZD8
                                                                    B06VVKCB19
                                                      B06X187JJX
                                                                    B06VVGWVB7
                                                      B06X8ZK86N
                                                                    B06VV93ZRB
                                                      B06X8YPRP9
                                                                    B06VV7VLXV
                                                      B06X6GBP4Q
                                                                    B06VTZKKBV
                                                      B06X3V9TKS
                                                                    B06VTZBVQH
                                                      B06X3V8MVL
                                                      B06W9HZQSR
    4     phoenixcheapbooks       A1MXG1V6MQREQY      B06VVHVZ2Z
                                                      B06WGPH43R




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   Def.                            Amazon Seller ID
          Defendant / Seller ID                           Infringing Item’s ASIN
   No.                                Number
                                                      B06X8ZKPPS     B06X3V8MVL
                                                      B06WVB86WG     B06WVBBMNX
                                                      B06WP4YGJX     B06WGPH43R
                                                      B06W9HZQSR     B06WGPGGXJ
                                                      B06VVHVZ2Z     B06WD3X2ZM
          ROBINN LYON-                                B06VVH327F     B06W9HZ92G
    5                              A13T8G6SL0AXR9
          ALVIZO                                      B06XDF2ZD8     B06VVKCB19
                                                      B06X187JJX     B06VVGWVB7
                                                      B06X8ZK86N     B06VV93ZRB
                                                      B06X8YPRP9     B06VV7VLXV
                                                      B06X6GBP4Q     B06VTZKKBV
                                                      B06X3V9TKS     B06VTZBVQH
    6     wasilewskixzjno         AA1UNDWRQO3W5       B06X8ZKPPS
                                                      B06X8ZKPPS
    7     azvettes                 A2IQ50OVZ74IJ4
                                                      B06X8YPRP9
          **Extreme Phone Corp
    8                              AYZ4BZ0GLGZ90      B014R1RZ4G
          LLC**
    9     BDKEIWQO                A1TH5RGQR9KEG7  B01LX1DV31
   10     Best Buy Case             A8I7ZZ29IU07J B014R1RZ4G
   11     CAROL MOORE              A3LFLUZAJFFL22 B014R1RZ4G
   12     Case Escape             A20DOJ7UR0WHLQ  B014R1RZ4G
                                                  B06Y1JMDC6
   13     CHENWEIKUN               A3Q9ODQLDHC3SC
                                                  B06Y1C33GX
   14     Fenfang                  A159ANKRYCO6FF B06XJCMVP1
   15     GER-sports               A2VMWK96929QTS B01M8MLFYO
   16     Javerzoom                A3Q7AVU895XBUB B01M8MLFYO
   17     JESSE NORMAND            A3MH7SU9S00MJE B01LYMC2KM
   18     KDFUYC                  A1NF0DXRUZNZGV B06XDJ4LV1
   19     Kiara Mitchel            A2078YXYKFYIFQ B01M8MLFYO
   20     KKKDFJL FF              A1KUWLNUYEZWFD B01LYN0B0I
          LANISE
   21                             ADEYYV0AOD7XY       B016DTOMBO
          HARRINGTON
   22     Miroshop                A2ZPMYV4VCS8CA      B01N2PL7BR
   23     MONDUE                   A3EN87AK4705U2     B01N1TVMKE
   24     MORE AND MORE           A2DA6C55M29GYA      B01M8MLFYO
   25     njhdfjk                  A56ONMX4PT9L4      B014R1RZ4G
   26     sudas                    A8EF4XWPOKOFI      B00XP1SFZI
   27     Sunthing                A1GC3V78PD3WC4      B00XP1SFZI




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   Def.                            Amazon Seller ID
          Defendant / Seller ID                       Infringing Item’s ASIN
   No.                                Number
                                                  B06XTW55ZG     B06XTWX3YB
                                                  B06XWZX697     B06XTF5K5B
                                                  B06XX4YSRP     B06XTWQLYC
   28     Tanamal                 A1MMHMRQKK8KXS B06XX5WHXN      B06XTW6NYV
                                                  B06XWNWSGN     B06XTVPDPX
                                                  B06XX8NQ9C     B06XTV3Q69
                                                  B06XTTCH18     B06XTW55ZG
   29     Tracy Wendling           AJPHA4NWD4JPU  B06X8ZQTN4
   30     Yvonne Cruz              A19I9TWHBA1JBK B06X8ZMLFC
   31     ZDRAVKA TOMIC            AMJXSE4AAO5H1  B01M8MLFYO




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